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                  IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF COLORADO
                       The Honorable Michael E. Romero


 In re:
                                          Case No. 17-17630 MER
 MATTHEW CURTIS WITT
                                          Chapter 7
      Debtor.

 REKON, LLC                               Adversary No. 17-1548 MER

      Plaintiff

 v.

 MATTHEW CURTIS WITT

      Defendant.

                                     ORDER

      THIS MATTER comes before the Court on the Motion to Quash Non-Judicial
Subpoenas filed by Noel West Lane, III on behalf of David Kahn. Pursuant to Local
Bankruptcy Rule 7026-1(d), no written discovery motions are permitted to be filed.
Accordingly,

        THE COURT DENIES the Motion.

 Dated February 26, 2019                  BY THE COURT:


                                          _________________________
                                          Michael E. Romero, Chief Judge
                                          United States Bankruptcy Court
